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                                                               Monday, 15 January, 2018 02:39:12 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )             17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

MOTION TO SUPPRESS EVIDENCE SEIZED PURSUANT TO THE ILLEGAL SEARCH
            OF DEFENDANT’S APARTMENT ON JUNE 15, 2017

       Defendant Brendt A. Christensen, by and through his attorneys, hereby moves

pursuant to Fed.R.Crim.P. 12(b)(3)(C) to suppress all items of physical evidence seized

pursuant to an illegal search of 2503 W. Springfield Avenue, Champaign, Illinois, on

June 15, 2017. In support of the motion Mr. Christensen states as follows:

I.     Factual Background

       On the evening of June 14, 2017, FBI Special Agents and Detectives with the

University of Illinois Police Department (UIPD) went to the apartment of Brendt and

Michelle Christensen, located at 2503 W. Springfield Avenue, Unit B-2, in Champaign,

Illinois. The purpose of their visit was to execute a search warrant for the Christensens’

2008 black Saturn Astra which had been issued by Magistrate Judge Eric Long that

evening.

       At approximately 11:45 p.m., the agents approached the door of the apartment


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and knocked. Mr. Christensen and his wife, Michelle Christensen, were asleep. Mr.

Christensen answered the door wearing a pair of sweatpants, having been awakened by

the knocking. The agents then entered the apartment and found Mrs. Christensen

naked, standing in the hallway. The lights in the apartment were not turned on, and

agents shone flashlights in her face.

       Mrs. Christensen retrieved a bathrobe from her bedroom and covered herself.

When she emerged from the bedroom, she observed FBI Special Agent Manganaro and

UIPD Detective Stiverson take Mr. Christensen away from the apartment to the local

FBI office to be interviewed. This left Mrs. Christensen alone in the apartment with the

remaining FBI agents; upon information and belief, there were at least seven agents in

the apartment at the time.1

       Special Agents Katherine Tenaglia and Andrew Huckstadt sat her down and

began interviewing her just before midnight. At that time, the other agents who were in

the apartment began taking photographs and going through her belongings. Mrs.

Christensen felt confused and shocked by the intrusion into her residence. Tenaglia and

Huckstadt interviewed her for approximately two hours. During the course of the

interview, other agents were searching the premises.

       According to the written reports from that morning, agents had Mrs. Christensen

sign a FD-26 Consent to Search form at the conclusion of her interview that morning,


1
 An FD 302 form provided in discovery indicates that the FBI Agents present for the
interview/search of the apartment were Justin Tennyson, Mark Hill, Joel Smith, Brian
Schenkelberg, Katherine Tenaglia, Andrew Huckstadt, and Michael Carter.
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which would have been at approximately 2:00 a.m. She does not specifically recall

signing a written FD-26 Consent to Search form, although one of those forms appears in

the discovery provided by the government and purports to have her signature affixed

thereto. There is no time noted on the FD-26. Mrs. Christensen’s recollection is that the

agents began searching the premises and taking photographs immediately after Mr.

Christensen left the apartment to be interviewed, which would have been

approximately two hours before she allegedly signed the consent to search form. She

was later left with a copy of the search warrant for the Saturn Astra, but no warrant to

search the premises.

       When the FBI agents left the residence, they took several items with them

including but not limited to: computer towers, cellular telephones, a digital camera, an

external hard drive, and laptop computers. If Mrs. Christensen had known she had a

legal right to refuse to consent to the search, she would have exercised it at that time.

She did not, however, realize that she could do so.

II.    Argument

       Michelle Christensen did not validly consent to the search of the apartment in

question in the early morning hours of June 15, 2017. First, the totality of the

circumstances indicate that any consent Mrs. Christensen provided was involuntarily

given, thus all evidence seized pursuant to that consent should be excluded. Second,

even if her consent could somehow be deemed voluntary, the removal of Mr.

Christensen from the premises was not objectively reasonable as a lawful detention at

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the time. Rather, it was a deliberate effort by law enforcement to isolate Mrs.

Christensen from her husband and vitiate his right to refuse to consent to a search of his

own property.

       A.     Standing

       As an initial matter, Mr. Christensen has standing to challenge the search of his

residence. A person can claim the protection of the Fourth Amendment’s bar against

unlawful searches and seizures when he had a legitimate expectation of privacy in the

invaded place that society is prepared to recognize as reasonable. Minnesota v. Olson,

495 U.S. 91, 95-96 (1990) (citing Rakas v. Illinois, 439 U.S. 128, 143 (1978)). A residence is

the primary example of where a person has the highest expectation of privacy. As the

Supreme Court recognizes, the “physical entry of the home is the chief evil against

which the wording of the Fourth Amendment is directed.” Payton v. New York, 445 U.S.

573, 585 (1980). When a third party consents to the search of a residence, the aggrieved

party may challenge the validity of that consent. United States v. Cellitti, 387 F.3d 618,

621 (7th Cir. 2004) (citing United States v. Matlock, 415 U.S. 164 (1974)).

       There is no dispute that Mr. Christensen resided at 2503 W. Springfield, Unit B-2,

and as such had a reasonable expectation of privacy in the home. If his wife’s

constitutional rights were violated and she was coerced into consenting to a search of

the apartment, Mr. Christensen’s rights were also violated and he can challenge the

voluntariness of her consent. Cellitti, 387 F.3d at 622.



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       B.     Michelle Christensen did not freely and voluntarily consent to the
              search of the premises.

       A search conducted without a warrant is considered unreasonable subject only to

a few well-delineated exceptions. Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). One

of those exceptions exists when the warrantless search is conducted pursuant to validly

given consent. Id. at 222, citing Katz v. United States, 389 U.S. 347, 358 (1967). The giving

of free and voluntary consent is a factual question. Cellitti, 387 F.3d at 622 (citing United

States v. Pedroza, 269 F.3d 821, 826 (7th Cir. 2001). Several factors are considered in the

analysis, including (1) the age, intelligence, and education of the person who gave

consent, (2) whether she was advised of her constitutional rights, (3) how long she was

detained before consenting, (4) whether she consented immediately or only after

repeated requests by authorities, (5) whether physical coercion was used, and (6)

whether she was in police custody at the time she gave her consent. Id., citing

Schneckloth, 412 U.S. at 226. Ultimately, no one factor is controlling; the evaluation of

voluntariness is based on the totality of the circumstances. Id. However, “account must

be taken of subtly coercive police questions, as well as the possibly vulnerable

subjective state of the person who consents.” Id. at 229.

       It is a deeply-rooted principle that police encounters at a person’s dwelling place

in the middle of the night are known to be “especially intrusive.” United States v. Jerez,

108 F.3d 684, 690-91 (7th Cir. 1997). “Indeed, the special vulnerability of the individual

awakened at the privacy of his place of repose during the nighttime hours to face a

nocturnal confrontation with the police was recognized in the common law that
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antedates our separation from England.” Id. (citations omitted). In this case, Michelle

Christensen was awaked around midnight by multiple law enforcement agents banging

on her apartment door. As vulnerable as that timing made her, it was made

substantially worse by the fact that as the agents entered the apartment, she did not

even have time to put clothes on before flashlights were shone into her eyes as she

stood naked and humiliated before them.

       When a knock at the door comes in the dead of night, the nature and effect of the

intrusion into the privacy of the dwelling place must be examined with the greatest of

caution. Jerez, 108 F.3d at 690. The Sixth Circuit has held a wife’s consent to be

involuntary where she was asked to permit a search in the middle of the night, while

emotional, and just after the removal of her husband from the apartment. United States

v. Tatman, 397 Fed.Appx. 152, 165 (6th Cir. 2010). Similar circumstances existed here.

Although she is an intelligent woman who had attended college, Mrs. Christensen had

virtually no experience with law enforcement. Even a highly educated and intelligent

person is extremely vulnerable when confronted in the middle of the night in her

dwelling place.

       Second, Mrs. Christensen was under the impression that she had no choice in the

events of that morning. She believed she had no control over their search of the

premises. As noted above, the agents began searching the apartment and taking

photographs immediately upon her husband’s removal from the premises and while

she was being interviewed by Special Agents Huckstadt and Tenaglia. According to the

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FBI reports, she did not sign the FD-26 until two hours later, at the conclusion of her

interview and after the agents had already been searching for a substantial amount of

time. The search was fundamentally over at that point, the last photographs having

been taken at 1:08 a.m.

       Based on those circumstances, she felt she had no choice but to allow the search.

In United States v. Starnes, 501 Fed.Appx. 379, 389 (6th Cir. 2012), the defendant’s wife

did not fully read or understand the FBI’s consent form, and believed that her refusal to

allow the search would have been utterly futile due to the fact that a search of the

premises had already begun prior to her signing the consent form. Consent is not freely

or voluntarily given when a scared, shaken up and confused woman is placed under

highly distressing, fast moving circumstances such as those at issue in this case. Id. at

390.

       In the present case, the totality of the circumstances indicate that Mrs.

Christensen’s alleged consent could not have been voluntary. She was wakened from

sleep by multiple law enforcement officers pouring into her apartment and taking her

husband away for questioning. Although intelligent, she was surprised, confused, and

scared. She was also wholly unaware of her right to refuse to consent to a search of the

apartment. Based on the foregoing, any alleged consent to search given by her should

be deemed involuntary.




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       C.      Brendt Christensen was intentionally removed from the premises with
               the intent of interfering with his constitutional right to refuse a consent
               search of his apartment.

       Even if Michelle’s consent can somehow be deemed voluntary, the search was

still invalid because Mr. Christensen was removed from the premises and denied his

right to refuse consent. In general, the consent of one person who possesses common

authority over the premises is valid against the absent, non-consenting person. United

States v. Matlock, 415 U.S. 164, 170 (1974). However, the Supreme Court has held that a

narrow exception is recognized where a physically present inhabitant’s express refusal

of consent to search is unequivocally made, regardless of the consent of the other

inhabitant. Fernandez v. California, 134 S.Ct. 1126, 1133 (2014) (citing Georgia v. Randolph,

547 U.S. 103, 122-23 (2006)). Taking it one step further, if the non-consenting person is

unable to be physically present at the residence because he is removed from the

premises without lawful authority, the third party’s consent can also be deemed

invalid. Id. at 1134.

       When agents removed Mr. Christensen from the premises, he was not under

arrest nor was there probable cause to arrest him. This is a distinguishable factual

scenario from the majority of cases invoking the forced absence exception to third party

consent. For example, in United States v. Jones, 861 F.3d 638, 642 (7th Cir. 2017), the

defendant invoked Randolph and claimed that officers removed him prior to the search

for the sake of avoiding a possible objection to his girlfriend’s consent. The Seventh

Circuit found that the defendant’s removal from the premises was objectively

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reasonable because officers had reason to believe that he was armed and dangerous (i.e.

officer safety) and because there was independent probable cause to arrest him. Id. In

United States v. Groves, 530 F.3d 506, 512 (7th Cir. 2008), the defendant was absent from

the residence at the time officers approached his girlfriend and requested consent to

search. The Seventh Circuit found no Randolph violation because the officers “did

nothing to procure” the defendant’s absence; rather, they went to the home knowing he

was not present, which was insufficient to warrant relief under Randolph. Id. Similarly,

in United States v. Reed, 539 F.3d 595, 598 (7th Cir. 2008), the defendant was absent from

the residence at the time of the search as the result of a valid arrest, thereby rendering

his girlfriend’s consent proper.

       When the agents arrived at Mr. Christensen’s apartment, they were purportedly

there to search his vehicle and to ask him some questions. He could have been

questioned at the residence, but instead he was taken away, thereby isolating his wife

inside with seven FBI agents. There was no discussion of a search, consensual or not,

prior to his removal. As he was not under arrest at the time, there was no probable

cause to arrest him, nor any threat to officer safety, his removal from the apartment can

be viewed as an intentional attempt to interfere with his ability to refuse consent to

search, thereby invalidating his wife’s third party consent.

       D.     The search warrant that existed for the vehicle was unlawfully used as
              an excuse to enter the apartment, therefore any evidence obtained
              pursuant Michelle’s consent is fruit of the poisonous tree.

       It is undisputed that at the time the agents approached Apartment B-2, they had

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a search warrant for the Saturn Astra that was parked outside of the building. They did

not have any search warrant for the apartment, nor did they have an arrest warrant for

Mr. Christensen. There was no indication that a protective sweep was necessary, nor

were there any exigent circumstances present. Put simply, the agents had no legal right

to enter the apartment when they arrived there at almost midnight on June 14, 2017. The

agents may have chosen to approach the apartment a) to ask for the keys to the vehicle

so as to facilitate the execution of the search warrant or b) to attempt to speak to the

residents (commonly referred to as a “knock and talk.”).

              i.        The actions of the agents do not meet the requirements of a legal knock and
                        talk.

       The home and the curtilage surrounding it are constitutionally protected areas.

Florida v. Jardines, 569 U.S. 1, 6 (2013). It is presumptively unreasonable to search a home

or its curtilage without a warrant, but under the “knock and talk” exception, a police

officer may approach a home and known because it is the same type of action that any

private citizen could take. Jardines, 569 U.S. at 8. As the Supreme Court noted, it is

“managed without incident by the Nation’s Girl Scouts and trick-or-treaters” as a

matter of course. Id.

       But the timing and purpose of the knock and talk is relevant in evaluating the

constitutionality of such a technique. Most residents do not expect visitors to visit them

in the middle of the night; rather, they are expected during normal waking hours.

United States v. Lundin, 817 F.3d 1151, 1159 (9th Cir. 2016). The analysis underlying the

holding of Jardines depended upon allowing the police to engage in conduct that
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average, everyday people might engage in; this does not include knocking on a

neighbor’s door during time periods where normal residents would be asleep.

Additionally, “[t]he scope of a license – express or implied – is limited not only to a

particular area but also to a specific purpose.” Jardines, 569 U.S. at 9. The only

permissible result from a knock-and-talk is to ask questions of the occupants. Lundin,

817 F.3d at 1159. Officers who knock on the door of a residence for other purposes

generally exceed the scope of the customary license and therefore overstep the bounds

of the knock and talk exception. Id.

       The decision to conduct a knock and talk at nearly midnight on a weeknight is

questionable simply based on the timing, but subsequent actions by the agents utterly

removes this case from the realm of constitutionality. Instead of waiting to be received

or invited into the home as is contemplated by knock-and-talks, multiple agents entered

the apartment en masse before Michelle Christensen could even cover her nudity. The

purpose of entering the apartment in such an aggressive manner was to secure Brendt

Christensen, get him to agree to an interview, and get Michelle Christensen to agree to

let them search the property. Therefore, both the purpose and the timing of the entry

into the apartment are inconsistent with the constitutional principles laid out by

Jardines.

              ii.    The illegal entry into the apartment cannot be cured, therefore the
                     exclusionary rule should be applied.

       Otherwise voluntary consent can nonetheless be tainted by a prior illegal entry.

United States v. McMillian, 786 F.3d 630 (7th Cir. 2015). An analogous case is that of
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United States v. Abarza, 199 F.Supp.3d 1270 (D.Oregon 2016). In Abarza, law enforcement

officers went to the home of an arrestee’s wife at approximately 2:30 a.m. carrying

flashlights. Id. at 1273. One of the officers approached the back door and knocked, and

the defendant answered shortly thereafter; it was clear she had been sleeping. Id. at

1274. After a brief conversation, she let the officer into the residence and he began

asking questions. Id. Within a few minutes she began making incriminating statements.

Id. The district court in Abarza found that even though the defendant consented to the

officer entering the home, the consent was fatally tainted by the prior illegal entry. Id. at

1276. The fact that the entry occurred in the middle of the night, when no reasonable

homeowner would expect a visitor, without probable cause, without a warrant, and

without the express invitation of the homeowner violates the Fourth Amendment. Id.

       The exclusionary rule preventing the use of evidence obtained in violation of that

amendment protects the Fourth Amendment guarantees by deterring lawless conduct

by law enforcement officers. United States v. Robeles-Ortega, 348 F.3d 679, 681 (7th Cir.

2003) (citing Brown v. Illinois, 422 U.S. 590, 598 (1975); Wong Sun v. United States, 371 U.S.

471, 486 (1963)). In examining whether the exclusionary rule applies, privacy interests

inherent in the Fourth Amendment are a concern in conjunction with considerations of

deterrence and judicial integrity. Id., citing Brown, 422 U.S. at 598. In determining

whether evidence is tainted by a prior illegality, it must be determined whether the

evidence was obtained by exploitation of the illegal or by means distinguishable from

the primary taint. Id., citing United States v. Valencia, 913 F.2d 378, 382 (7th Cir.1990).

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“Where the search following the illegal entry is justified based on alleged consent,

courts must determine whether that consent was voluntary, and in addition the court

must determine whether the illegal entry tainted that consent. The Supreme Court has

identified a number of factors relevant to that inquiry, including (1) the temporal

proximity of the illegal entry and the consent, (2) the presence of intervening

circumstances, and, particularly, (3) the purpose and flagrancy of the official

misconduct.” Id., citing Brown, 422 U.S. at 603–04.

        In this case, the illegal entry into the apartment directly resulted in the

“consensual” search authorized by Mrs. Christensen. There were no intervening

circumstances at all, and the agents went to the apartment in a tour de force with the

intent of obtaining a confession from Mr. Christensen and consent from his wife to

search the premises. Because the agents illegally entered the apartment, any subsequent

consent given by Michelle Christensen should still be excluded as fruit of the poisonous

tree.

        WHEREFORE, Defendant Brendt A. Christensen respectfully requests that this

Court enter an Order suppressing all physical evidence seized from 2503 W. Springfield

Avenue, Champaign, Illinois, pursuant to the illegal search on June 15, 2017, and for

any other relief that this Court deems appropriate.




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Respectfully submitted,

BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.


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